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 8                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 9                                          AT SEATTLE

10

11      UNITED STATES OF AMERICA,                             CASE NO. CR22-001 TL
12                              Plaintiff,
                v.
                                                              ORDER ON MOTION TO SEAL
                                                              MOTION TO ADMIT EVIDENCE
13
        SHABNAM DAWN PILISUK,                                 UNDER RULES 404(B) AND 414
14
                                Defendant.
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17          This matter comes before the Court on the Government’s motion to seal (Dkt. No. 54) its

18   motion to admit evidence under Federal Rules of Evidence 404(b) and 414 (Dkt. No. 55).

19          The Local Criminal Rules set forth requirements for motions to seal materials that are not

20   explicitly mandated to be filed under seal. See CrR 55. Motions to seal in criminal cases must

21   “set forth a specific statement of the applicable legal standard and the reasons for keeping a

22   document under seal, with evidentiary support from declarations when necessary.” Id. 55(c).

23          Unlike the Government’s prior motion to seal (Dkt. No. 60), the information at issue here

24   is not as clearly similar to items required to be filed under seal under the Local Criminal Rules.
     ORDER ON MOTION TO SEAL
     MOTION TO ADMIT EVIDENCE
     UNDER RULES 404(B) AND 414 - 1
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 1   See CrR 55(b). The sole reason the Government has furnished for requesting the sealing of its

 2   motion is that “it contains sensitive information.” Dkt. No. 54. The Government’s motion to seal

 3   does not set forth the applicable legal standard, nor does it provide any explanation of what

 4   makes the information contained in the motion “sensitive.” See id.

 5          Therefore, the Court DENIES the motion to seal (Dkt. No. 54) WITHOUT PREJUDICE. The

 6   Government may file a corrected motion compliant with this Order within three (3) days (i.e.,

 7   by January 19, 2023). The filing at issue SHALL REMAIN UNDER SEAL pending further rulings

 8   from this Court.

 9          Dated this 17th day of January 2023.

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                                                          A
                                                          Tana Lin
                                                          United States District Judge
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     ORDER ON MOTION TO SEAL
     MOTION TO ADMIT EVIDENCE
     UNDER RULES 404(B) AND 414 - 2
